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           Exhibit A
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                               Bromberg Law Office, P.C.
                                            26 Broadway
                                             21st Floor
                                         New York, NY 10004
                                           (212) 248-7906


Christopher Godson                                  Date:           9/21/2018
                                                    File Number:    /
Re: Godson v. Eltman, Eltman & Cooper, P.C.         Invoice Number: 11054




Date          Initials   Description of Service                                         Hours   Amount
08/02/2011    BLB        Analysis and review of letter received from Seth Andrews        0.50    275.00
09/08/2011    BLB        Analysis and review of draft complaint from co-counsel          0.50    275.00
09/09/2011    BLB        Email correspondence with Ken Hiller about draft complaint      0.10     55.00
09/18/2011    BLB        Preparation and filing of Notice of Appearance                  0.30    165.00
09/19/2011    BLB        Read and reviewed email from Ken Hiller's paralegal;            0.20    110.00
                         responded to email
11/14/2011    BLB        Email correspondence with Ken Hiller re defense counsel's       0.10     55.00
                         request for an extension to answer
12/12/2011    BLB        Read and reviewed email correspondence from Pushpa              0.10     55.00
                         Piyatissa, Esq.
12/12/2011    BLB        Email correspondence with co-counsel re email from              0.10     55.00
                         Pushpa
12/12/2011    BLB        Anaysis and review of answer to complaint                       0.50    275.00
12/12/2011    BLB        Email correspondence with co-counsel re frivolous               0.30    165.00
                         affirmative defenses -- decided to move to strike them
01/02/2012    BLB        Read and review first draft of motion to strike affirmative     0.20    110.00
                         defenses
01/03/2012    BLB        Preparation of revised motion to strike affirmative defenses    1.50    825.00
01/04/2012    BLB        Telephone call to Kenneth R Hiller - spoke - re Rule 16 and     0.20    110.00
                         Rule 26 conferences, as well as ADR procedures
01/06/2012    BLB        Read and reviewed proposed CMO from Ken Hiller                  0.20    110.00
02/16/2012    BLB        Telephone call w/ Ken Hiller re next steps; email to defense    0.20    110.00
                         counsel to schedule telephone conference to select
                         mediator
02/16/2012    MNL        Analysis and review of of Plaintiff's motion to strike and      0.40    160.00
                         accompanying memorandum and Defendants' opposition in
                         preparation for drafting of reply brief
02/17/2012    MNL        Preparation of reply brief in further support of motion to      2.00    800.00
                         strike affirmative defenses; ecf brief
02/17/2012    BLB        Read and reviewed proposed Rule 26(a) disclosures from          0.30    165.00
                         Ken Hiller
02/17/2012    BLB        Email correspondence with Pushpa re mediation                   0.20    110.00
02/17/2012    BLB        Email correspondence with Pushpa re scheduling a call           0.10     55.00
02/17/2012    BLB        Email correspondence with all counsel re Hugh Russ as           0.20    110.00
                         mediator
03/22/2012    MNL        Preparation of motion for class cert and accompanying           4.60   1,840.00
                         documents
03/23/2012    MNL        Preparation of motion for class certification and               3.70   1,480.00
                         accompanying documents, including BB declaration.
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                                                                                   14
03/23/2012   BLB         Preparation of motion for class certification and supporting    2.00   1,100.00
                         documents
03/27/2012   MNL         Preparation and filing of motion for class certification and    2.10    840.00
                         accompanying documents
03/27/2012   BLB         Preparation of motion for class certification and supporting    2.00   1,100.00
                         documents
03/28/2012   BLB         Read and reviewed mediation memorandum from Seth                0.50    275.00
                         Andrews
03/28/2012   BLB         Read and reviewed documents from client                         0.50    275.00
03/28/2012   BLB         Email correspondence with co-counsel re documents from          0.50    275.00
                         client
03/28/2012   BLB         Telephone call w/ client and Seth Andrews in preparation        1.00    550.00
                         for Friday's mediation
03/29/2012   BLB         Email correspondence with Seth Andrews re proceedings in        0.20    110.00
                         Florida
03/30/2012   BLB         Attend meeting in Buffalo for mediation                         8.00   4,400.00
04/06/2012   BLB         Multiple email correspondence with co-counsel re letter to      0.40     220.00
                         Judge Schroeder
05/01/2012   BLB         Read and reviewed email from Connie Montoya re informal         0.20    110.00
                         discovery; email in response
05/17/2012   BLB         Mediation prep with client for follow-up session                1.00     550.00
05/18/2012   BLB         Attend meeting in Buffalo for mediation                         8.00   4,400.00
05/22/2012   BLB         Email correspondence with co-counsel re settlement offer        0.40     220.00
                         from Defendants
06/07/2012   BLB         Read and reviewed email from Hugh Russ                          0.10      55.00
06/12/2012   MNL         Preparation of initial written discovery requests               2.40     960.00
06/12/2012   BLB         Preparation of initial written discovery demands                2.10   1,155.00
06/13/2012   BLB         Telephone call w/ Seth Andrews re issues concerning First       0.20     110.00
                         Set of Written Discovery Demands
06/13/2012   BLB         Final preparation of First Set of Written Discovery Demands     0.50    275.00
07/03/2012   BLB         Read and reviewed email from Connie Montoya                     0.10     55.00
07/03/2012   BLB         Email correspondence with Connie Montoya re discovery           0.50    275.00
07/05/2012   BLB         Telephone call w/ Seth Andrews re Plaintiff's deposition        0.20    110.00
07/05/2012   BLB         Read and reviewed email correspondence from Connie              0.10     55.00
                         Montoya re deposition of Plaintiff
07/05/2012   BLB         Email correspondence with co-counsel re Plaintiff's             0.10     55.00
                         deposition
07/06/2012   BLB         Correspondence with Magistrate Judge Schroeder in               0.60    330.00
                         response to Connie Montoya's letter-motion
07/09/2012   BLB         Telephone call -- deposition preparation of client with Seth    2.00   1,100.00
                         Andrews
07/09/2012   BLB         Email correspondence with co-counsel re discovery               0.20     110.00
07/17/2012   BLB         Travel to Buffalo for deposition of client                      3.00   1,650.00
07/17/2012   BLB         Multiple email correspondence with defense counsel re           0.30     165.00
                         discovery
07/18/2012   BLB         Deposition attendance -- deposition of client in Buffalo (2.0   5.00   2,750.00
                         hours) & travel back to NYC (3.0 hours)
08/13/2012   BLB         Analysis and review of papers received in opposition to         0.90    495.00
                         motion for class certification with Ken Hiller (0.2) and then
                         Seth Andrews (0.7); drafted email letter with Seth Andrews
                         re public filing of personal information on ECF by Connie
                         Montoya
08/13/2012   BLB         Email correspondence with defense counsel re need to            0.10     55.00
                         correct e-filing of confidential information
08/14/2012   BLB         Read and reviewed email from defense counsel re                 0.10     55.00
                         confidential information removed from the docket
08/19/2012   BLB         Read, reviewed, and analyzed Defendants' discovery              1.20    660.00
                         responses
08/28/2012   MNL         Analysis and review of reply brief                              0.50    200.00
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                                                                                   14
08/29/2012   MNL         Preparation of reply brief, Seth Andrews declaration, and       3.80    1,520.00
                         notice of motion
08/29/2012   BLB         Telephone call w/ Connie Montoya and Ken Hiller re              0.70      385.00
                         defendants' discovery responses
11/19/2012   BLB         Research of net-worth discovery issues for reply brief --       0.50      275.00
                         found six cases
11/20/2012   BLB         Preparation of reply brief on motion to compel discovery        3.70    2,035.00
11/21/2012   BLB         Final preparation of Reply Brief in Further Support of Motion   2.90    1,595.00
                         to Compel and review of co-counsel's Reply Affirmation
11/28/2012   BLB         Preparation of discovery responses                              3.30    1,815.00
09/26/2013   BLB         Research of model protective orders from Judge Forrest --       0.60      330.00
                         comparison to Connie Montoya's proposed protective order
                         -- preparation of email to Connie Montoya re protective
                         orders
10/04/2013   JRM         Draft of motion and memorandum to preclude/enter                1.90      760.00
                         protective order/impose sanctions
10/07/2013   JRM         Draft of motion and memorandum to preclude/enter                2.30      920.00
                         protective order/impose sanctions
10/07/2013   JRM         Draft of motion and memorandum to preclude/enter                5.10    2,040.00
                         protective order/impose sanctions
10/08/2013   JRM         Preparation of Motion for Sanctions/Protective Order for        1.30      520.00
                         filing
10/21/2013   JRM         Draft, revise and edit of reply in support of motion for        4.50    1,800.00
                         sanctions
10/22/2013   BLB         Preparation of reply declaration on motion for sanctions        1.50      825.00
10/24/2013   BLB         Preparation of motion for stay of briefing on motion for        4.20    2,310.00
                         summary judgment pending close of discovery
10/25/2013   JRM         Draft, revise and edit of motion to stay summary judgment       5.00    2,000.00
10/29/2013   BLB         Preparation of Second Set of Discovery Demands                  1.70      935.00
11/05/2013   JRM         Draft, revise and edit of reply on motion to stay sum judge     2.50    1,000.00
                         briefing
11/05/2013   JRM         Read and review Opposition to Expedited Motion to stay          0.80      320.00
                         briefing on sum judg
11/30/2013   BLB         Research of case law concerning g-violation alleged in the      2.50    1,375.00
                         complaint -- found more than a dozen cases in favor of
                         plaintiff
12/01/2013   BLB         Research of case law re active debt collector v passive debt    0.50      275.00
                         buyer nonsense claimed by defendants
12/04/2013   BLB         Telephone call to Connie Montoya -- left voicemail at about     0.10   No Charge
                         6:38 pm
12/04/2013   BLB         Telephone call w/ Seth Andrews to Connie Montoya to             0.10   No Charge
                         confer re her clients' responses to the Second Set of
                         Discovery Demands -- left voicemail at 10:39 a.m.
12/04/2013   BLB         Telephone call -- left voicemail -- around 4:00 p.m.            0.10   No Charge
12/05/2013   BLB         Email correspondence with co-counsel re protective order        0.10   No Charge
12/05/2013   BLB         Telephone call re discovery with Connie Montoya, Nabil          0.70   No Charge
                         Foster, and JRM
12/05/2013   BLB         Preparation of protective order using Judge Forrest's           0.50   No Charge
                         "Model Protective Order 2"; transmission by email to Connie
                         Montoya
12/05/2013   JRM         Telephone call with Brian Bromberg, Concepcion Montoya,         0.70   No Charge
                         Nabil Foster - conferring over discovery responses
12/07/2013   BLB         Preparation of motion to extend discovery                       2.50    1,375.00
12/09/2013   JRM         Draft of motion and memorandum for extension of discovery       4.00    1,600.00
                         and all deadlines
12/09/2013   JRM         Read and review draft of motion to extend discovery             0.20       80.00
12/13/2013   BLB         Godson -- BLB and JRM -- Follow-Up Call with Nabil Foster       1.20   No Charge
                         re LVNV production -- Connie Montoya was not available
12/13/2013   JRM         Godson - Follow-up phone call with Brian & Nabil Foster re:     1.20   No Charge
                         LVNV production - Connie Montoya not available
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                                                                                   14
12/17/2013   JRM         Draft, revise and edit of second motion to compel                 4.00   No Charge
12/18/2013   JRM         Draft, revise and edit of second motion to compel                 4.00   No Charge
12/23/2013   BLB         Read and reviewed papers filed by Connie Montoya                  0.50      275.00
12/23/2013   BLB         Email correspondence with co-counsel re papers filed by           0.10       55.00
                         Connie Montoya
12/26/2013   JRM         Draft, revise and edit of reply on motion to extend discovery     3.00    1,200.00
                         and all deadlines
12/27/2013   JRM         Draft, revise and edit of reply on motion for extension of        3.00    1,200.00
                         discovery and all deadlines
12/30/2013   JRM         Draft, revise and edit of reply on motion for extension of       12.00    4,800.00
                         discovery and all deadlines; draft and edit accompanying
                         motion to seal; filing of motions by ECF and mail.
01/02/2014   JRM         Draft, revise and edit of second motion to compel                 5.00   No Charge
01/07/2014   JRM         Draft, revise and edit of second motion to compel                 9.50   No Charge
01/08/2014   JRM         Draft, revise and edit of second motion to compel                 2.00   No Charge
01/08/2014   JRM         Draft, revise and edit of second motion to compel                 8.20   No Charge
01/09/2014   JRM         Draft, revise and edit of second motion to compel                 2.70   No Charge
01/09/2014   JRM         Draft, revise and edit of second motion to compel                 5.50   No Charge
01/10/2014   BLB         Final preparation of motion papers, including all supporting      3.20   No Charge
                         documents
01/10/2014   BLB         Preparation of revised memorandum in support of second            0.80   No Charge
                         motion to compel discovery responses
01/10/2014   BLB         Preparation of Second Motion to Compel                            0.50   No Charge
01/10/2014   JRM         Draft, revise and edit of second motion to compel                 3.00   No Charge
01/10/2014   JRM         Final preparation of motion papers, including all supporting      5.00   No Charge
                         documents
01/13/2014   BLB         Email correspondence with co-counsel re pending motions           0.10       55.00
01/17/2014   JRM         Draft, revise and edit of letter to C. Montoya re: objections     0.60      240.00
                         to confidentiality designations
01/17/2014   JRM         Telephone call w/ Consulting CPA re: EEC's audited                0.40      160.00
                         financial statements and tax returns
01/20/2014   JRM         Draft, revise and edit of letter contesting confidential          1.70      680.00
                         designations
01/21/2014   JRM         Research of standard for confidentiality in 2d Cir.               2.20      880.00
01/22/2014   JRM         Draft, revise and edit of letter requesting removal of            4.00    1,600.00
                         confidential designation
01/23/2014   JRM         Draft, revise and edit of letter to Ms. Montoya requesting        4.80    1,920.00
                         removal of confidentiality designations; Preparation of letter
                         re: confidentiality designations for service
01/23/2014   BLB         Read and reviewed email from JRM to Connie Montoya re             0.30      165.00
                         removing confidential designations
01/30/2014   JRM         Draft, revise and edit of letter responding to Connie             1.20      480.00
                         Montoya's request for additional time to oppose 2nd Motion
                         to compel
01/31/2014   BLB         Read and reviewed letter from Connie Montoya re removing          0.20      110.00
                         confidentiality designations
02/01/2014   BLB         Read and reviewed Hunsinger discovery decision from               0.20      110.00
                         Texas; corresponded with co-counsel about its application
                         to this case
02/01/2014   BLB         Email correspondence with co-counsel re Defendants'               0.20      110.00
                         confidentiality designations and letter from Connie Montoya
02/06/2014   JRM         Analysis and review of letter to Ms. Montoya requesting           0.50      200.00
                         voluntary removal of confidentiality designations
02/07/2014   BLB         Read and reviewed email re supplemental document                  0.20      110.00
                         production received from Connie Montoya
02/07/2014   BLB         Read and reviewed opposition to motion to compel and              0.50      275.00
                         cross-motion to bifurcate e-filed by Defendants; email
                         correspondence to co-counsel
02/10/2014   BLB         Research of cases involving the type of trade-secret claims       0.50      275.00
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                                                                                   14
                         raised by defense counsel
02/14/2014   BLB         Read and reviewed Defendants' complete opposition and           1.00      550.00
                         cross-motion papers
02/20/2014   JRM         Draft, revise and edit of reply on Second Motion to Compel      6.20   No Charge
02/21/2014   JRM         Draft, revise and edit of motion for extension of time to       0.40   No Charge
                         reply, after we realized Connie Montoya's opposition papers
                         were incomplete
02/21/2014   JRM         E-mail to Connie Montoya after we realized her opposition       0.30   No Charge
                         papers were incomplete
02/26/2014   JRM         Draft, revise and edit of Bromberg Reply Decl - 2nd Motion      2.00   No Charge
                         to Compel
02/26/2014   BLB         Final preparation with JRM of reply papers on motion to         5.00   No Charge
                         compel and opposition papers on motion to bifurcate
02/26/2014   JRM         Research of Reply Memo on 2nd motion to compel                  2.00   No Charge
                         (searching for and marking unsupported assertions of fact in
                         Opposition Memo)
02/26/2014   JRM         Research of law on bifurcation of discovery                     0.90   No Charge
02/26/2014   JRM         Draft, revise and edit of reply memo on 2nd motion to           3.00   No Charge
                         compel
02/26/2014   JRM         Draft, revise and edit of reply memo - 2nd motion to compel     1.00   No Charge
                         (editing)
02/26/2014   JRM         Draft, revise and edit of opposition to motion to bifurcate     1.20   No Charge
02/26/2014   JRM         Draft, revise and edit of notice of motion to seal & proposed   1.10   No Charge
                         order
02/26/2014   JRM         Preparation of 2nd Motion to Compel, Opp to Motion to           3.80   No Charge
                         Bifurcate, and motion to seal: Printing, sorting, and mailing
                         all documents; efiling of notice of motion to seal
03/04/2014   BLB         Email correspondence with co-counsel re reply brief             0.10       55.00
03/20/2014   JRM         Draft, revise and edit of motion to remove confidentiality      0.90      360.00
                         designations/unseal
03/20/2014   BLB         Email correspondence with Connie Montoya (2x) re                0.20      110.00
                         documents filed by the Court under seal
05/08/2014   BLB         Preparation of Notice of Supplemental Authority re Hallmark     0.50      275.00
                         decision
06/12/2014   BLB         Research on PACER re the Cox v. Sherman case --                 2.30    1,265.00
                         downloaded dozens of files
07/03/2014   JRM         Draft of motion and memorandum: Motion to strike                2.00      800.00
                         confidentiality designations and to unseal filed documents
07/03/2014   JRM         Read and review case file; reviewing discovery produced by      1.60      640.00
                         defendants, what defendants marked as confidential, and
                         what discovery Plaintiff still requires
09/15/2014   JRM         Read and review MJ Schroeder's Decision and Order,              0.80   No Charge
                         ECF#103
09/29/2014   JRM         Attend meeting with BLB regarding strategy - filing             0.60   No Charge
                         objections to M.J. Schroeder's recent decision and order
09/29/2014   JRM         Draft, revise and edit of objections to M.J. Schroeder's        9.30   No Charge
                         recent discovery and scheduling order
09/29/2014   BLB         Attend meeting w/ JRM re objections to Magistrate               0.60   No Charge
                         Schroeder's discovery order
09/29/2014   BLB         Preparation of objections to Decision and Order                 1.50   No Charge
09/29/2014   BLB         Research of developments in Cox case in S.D. Indiana            1.80   No Charge
09/29/2014   JRM         Read and review M.J. Schroeder's Decision and Order,            2.00   No Charge
                         previous briefs and exhibits in preparation for drafting
                         objections to Decision and Order.
10/06/2014   JRM         Read and review of discovery materials recently turned over     1.30   No Charge
                         by defendants
10/07/2014   JRM         Draft, revise and edit of Motion for Reconsideration/Motion     3.00   No Charge
                         for Contempt filed with MJ Schroeder
10/08/2014   JRM         Draft, revise and edit of motion for reconsideration            6.20   No Charge
10/09/2014   JRM         Draft, revise and edit of motion for reconsideration            9.10   No Charge
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                                                                                   14
10/10/2014   JRM         Draft, revise and edit of Motion for Reconsideration             5.10   No Charge
10/13/2014   JRM         Draft, revise and edit of Motion for Reconsideration             9.10   No Charge
10/14/2014   JRM         Draft, revise and edit of footnotes in Memorandum in             0.60   No Charge
                         support of Motion for Reconsideration
10/14/2014   BLB         Preparation of motion for reconsideration of Decision &          4.80   No Charge
                         Order, dated September 15, 2014
10/14/2014   JRM         Draft, revise and edit of Miller Declaration in support of       1.90   No Charge
                         Motion for Reconsideration
10/14/2014   JRM         Draft, revise and edit of Motion for Reconsideration             9.30   No Charge
10/14/2014   JRM         Preparation of Motion for Reconsideration for filing under       2.00   No Charge
                         seal
10/17/2014   BLB         Telephone call w/ Consulting CPA and JRM re LVNV's               0.30   No Charge
                         financials
10/20/2014   JRM         Preparation of outline - new Motion for Contempt (LVNV's         2.00   No Charge
                         failure to comply with Sept. 15 order)
10/20/2014   JRM         Draft, revise and edit of Motion for Contempt/Sanctions          0.10   No Charge
10/20/2014   JRM         Draft, revise and edit of Motion for Contempt/Santions           2.40   No Charge
10/20/2014   JRM         Research of law on civil contempt                                1.10   No Charge
10/22/2014   JRM         Draft, revise and edit of Motion for Sanctions/Contempt          3.00   No Charge
10/23/2014   JRM         Draft, revise and edit of Motion for Contempt/Sanctions         10.10   No Charge
10/24/2014   JRM         Draft, revise and edit of Bromberg Decl. In support of           0.60   No Charge
                         motion for Sanctions
10/24/2014   BLB         Preparation of motion for sanctions and contempt and             3.20   No Charge
                         supporting papers
10/24/2014   JRM         Draft, revise and edit of Notice of Motion for Sanctions         0.30   No Charge
10/24/2014   JRM         Draft, revise and edit of Notice of Motion to Seal               0.30   No Charge
10/24/2014   JRM         Draft, revise and edit of Memo in support of Motion for          3.00   No Charge
                         Sanctions/Contempt (proofreading, section on contempt,
                         footnotes)
10/24/2014   JRM         Preparation of Notice of motion for Sanctions and Notice of      3.20   No Charge
                         Motion to Seal for electronic filing, plus Memo, Declaration,
                         and exhibits for papers filing
10/24/2014   JRM         Draft, revise and edit of Motion for Contempt/Sanctions          4.60   No Charge
11/11/2014   BLB         Email correspondence with Connie Montoya                         0.10       55.00
11/12/2014   BLB         Read and reviewed email correspondence from Connie               0.10       55.00
                         Montoya
11/20/2014   BLB         Read and reviewed email correspondence from Connie               0.10       55.00
                         Montoya
11/20/2014   BLB         Email correspondence with Connie Montoya                         0.10       55.00
11/20/2014   BLB         Email correspondence with Connie Montoya                         0.10       55.00
11/20/2014   BLB         Read and reviewed email correspondence from Connie               0.10       55.00
                         Montoya
11/21/2014   BLB         Email correspondence with Connie Montoya                         0.10       55.00
10/02/2015   JRM         Anaysis and review of Magistrate Judge Schroeder's               0.90      360.00
                         September 30 discovery order
10/02/2015   BLB         Email correspondence with Connie Montoya, attaching a            0.10       55.00
                         copy of Decision and Order, Document No. 137
10/02/2015   BLB         Anaysis and review of Magistrate Judge Schroeder's               0.70      385.00
                         Decision and Order
10/05/2015   JRM         Anaysis and review of case file, previous discovery orders,      1.40      560.00
                         and discovery produced by Defendants, in preparation for
                         deciding whether to object to Magistrate Judge Schroeder's
                         order
10/07/2015   JRM         Telephone call w/ Connie Montoya and co-counsel                  0.20       80.00
10/07/2015   JRM         Telephone call w/ co-counsel re settlement issues and            0.50      200.00
                         whether to object to 10% of Magistrate Schroeder's
                         Decision and Order
10/07/2015   BLB         Telephone call w/ co-counsel re settlement issues and            0.50      275.00
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                         whether to object to 10% of Magistrate Schroeder's
                         Decision and Order
10/07/2015   BLB         Telephone call w/ Connie Montoya and co-counsel                 0.20      110.00
10/09/2015   JRM         Telephone call w/ client and Seth Andrews and BLB re case       0.50      200.00
                         status and formulating a settlement demand
10/09/2015   JRM         Anaysis and review of Cox v. Sherman docket to see if           1.40      560.00
                         there have been any new developments, especially whether
                         any depositions had been taken
10/09/2015   BLB         Telephone call w/ client and Seth Andrews and JRM re            0.50      275.00
                         case status and formulating a settlement demand
10/12/2015   JRM         Preparation for service of subpoena on Plews Shadley for        1.00      400.00
                         deposition transcripts
10/12/2015   BLB         Email correspondence with defense counsel re settlement         0.40      220.00
                         after circulating draft to co-counsel; read and and reviewed
                         email back from Connie Montoya
11/02/2015   JRM         Telephone call w/ Connie Montoya, Nabil Foster, and BLB         0.20       80.00
                         re deposition transcripts and exhibits1;
11/02/2015   BLB         Telephone call w/ Connie Montoya, Nabil Foster, and JRM         0.20      110.00
                         re deposition transcripts and exhibits1
11/06/2015   JRM         Draft, revise and edit of response to LVNV's Objections to      1.90      760.00
                         MJ Schroeder's Order
11/06/2015   JRM         Analysis and review of LVNV's motion to quash subpoena          0.60      240.00
                         on Plews Shadley
11/06/2015   JRM         Analysis and review of new discovery produced by LVNV           1.00   No Charge
11/09/2015   JRM         Draft, revise and edit of response to LVNV's Objections to      8.50    3,400.00
                         MJ Schroeder's Order
11/09/2015   JRM         Preparation of responses to LVNV's Objections and all           1.00      400.00
                         supporting documents for filing
11/09/2015   BLB         Preparation of revised response to LVNV's objections            0.90      495.00
11/09/2015   JRM         Correspondence with opposing counsel re deficient               0.80   No Charge
                         discovery responses (x2)
11/13/2015   JRM         Analysis and review of discovery newly produced by LVNV         0.60   No Charge
                         (servicing agreement)
11/15/2015   JRM         Analysis and review of discovery newly produced by LVNV -       0.10   No Charge
                         declaration regarding finances
11/15/2015   JRM         Correspondence with opposing counsel re deficient               0.30   No Charge
                         discovery responses
11/16/2015   JRM         Analysis and review of discovery newly produced by LVNV         0.60   No Charge
                         (operating agreement)
11/16/2015   JRM         Correspondence with opposing counsel re: deficient              0.80   No Charge
                         discovery responses
11/17/2015   JRM         Correspondence with opposing counsel re: deficient              0.80   No Charge
                         discovery responses
11/20/2015   JRM         Draft, revise and edit of memo in opposition to LVNV's         12.10    4,840.00
                         motion to quash
11/20/2015   JRM         Draft, revise and edit of Bromberg Decl in opposition to        1.50      600.00
                         LVNV motion to quash
11/20/2015   JRM         Preparation of all documents and exhibits - Plaintiff's         2.70    1,080.00
                         opposition to LVNV's motion to quash in Indiana
11/24/2015   BLB         Read and reviewed email correspondence from Pushpa              0.10       55.00
                         Piyatissa re withdrawal
12/04/2015   JRM         Analysis and review of LVNV's reply - motion to quash           0.30      120.00
                         subpoena on Cox depo
12/28/2015   JRM         Correspondence with Connie Montoya and Nabil Foster -           0.50   No Charge
                         deadlines for producing discovery
01/18/2016   JRM         Draft, revise and edit of Motion for Contempt/Sanctions         4.00   No Charge
                         against LVNV
01/18/2016   JRM         Read and review of all materials relevant to drafting motion    2.00   No Charge
                         for contempt/sanctions against LVNV: previous discovery
                         orders, discovery produced by defendants; emails between
                         counsel, notes, etc.
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                                                                                   14
01/21/2016   JRM         Draft, revise and edit of Fourth Motion for                        1.90   No Charge
                         Contempt/Sanctions against LVNV
01/26/2016   JRM         Draft, revise and edit of 4th motion for sanctions/contempt        3.10   No Charge
                         against LVNV
01/27/2016   JRM         Draft, revise and edit of fourth motion for                        1.90   No Charge
                         contempt/sanctions against LVNV
01/28/2016   JRM         Draft, revise and edit of fourth motion for                        5.00   No Charge
                         contempt/sanctions against LVNV
01/28/2016   JRM         Research of Cox docket - analyzing and downloading                 1.00   No Charge
                         materials added to electronic docket since late November
01/29/2016   JRM         Draft, revise and edit of fourth motion for                        3.80   No Charge
                         sanctions/contempt against LVNV
02/01/2016   JRM         Draft, revise and edit of Miller Decl in support of                2.50   No Charge
                         contempt/sanctions against LVNV, with some preparation of
                         exhibits
02/01/2016   BLB         Preparation of revised memorandum                                  1.10   No Charge
02/01/2016   JRM         Research of whether withdrawal of summary judgment                 0.30   No Charge
                         motion constitutes waiver of issue for purposes of trial
02/01/2016   JRM         Research of who has burden of demonstrating defendant is           0.20   No Charge
                         "debt collector"
02/01/2016   JRM         Draft, revise and edit of memo in support of                       4.10   No Charge
                         contempt/sanctions against LVNV - fixing footnotes;
                         revising; section on legal standard
02/05/2016   JRM         Draft, revise and edit of Motion to Extend All Discovery           2.10   No Charge
                         Deadlines (due to LVNV not producing discovery), as well
                         as declaration in support of Motion
02/05/2016   JRM         Preparation of - Final prep and filing of Motion to extend         0.90   No Charge
                         discovery deadlines (because of LVNV's failure to provide
                         discovery)
02/23/2016   JRM         Read and review LVNV's Opposition to Fourth Motion for             1.00   No Charge
                         Sanctions
03/04/2016   JRM         Analysis and review of account notes produced by LVNV -            2.80   No Charge
                         trying to determine exactly how LVNV calculated interest,
                         which is relevant to whether debt purchase documents are
                         relevant to this case - in preparation for reply brief on fourth
                         motion for sanctions
03/04/2016   JRM         Draft, revise and edit of reply memorandum - fourth motion         5.30   No Charge
                         for sanctions
03/07/2016   JRM         Draft, revise and edit of Miller reply declaration in further      3.20   No Charge
                         support of fourth motion for sanctions
03/07/2016   BLB         Final review of reply papers and motion to seal                    0.50   No Charge
03/07/2016   BLB         Preparation of revised reply memorandum                            1.20   No Charge
03/07/2016   JRM         Draft, revise and edit of reply memo in further support of         1.40   No Charge
                         fourth motion for sanctions; proofreading, adding and fixing
                         footnotes
03/07/2016   JRM         Preparation of reply papers in further support of fourth           1.10   No Charge
                         motion to seal and filing, including preparation of motion to
                         seal Miller Decl.
03/08/2016   JRM         Anaysis and review of MJ Lynch's decision quashing                 1.20      480.00
                         subpoena (S.D. Indiana)
03/11/2016   JRM         Research of cases cited in MJ Lynch's decision (S.D.               1.80      720.00
                         Indiana)
03/17/2016   JRM         Research of 7th Circuit case law on stipulated protective          6.40    2,560.00
                         orders and confidentiality - in preparation for objections to
                         MJ Lynch's decision quashing subpoena (S.D. Indiana)
03/17/2016   JRM         Draft, revise and edit of outline for objections to MJ Lynch's     1.00      400.00
                         decision quashing subpoena (SD Indiana)
03/18/2016   JRM         Draft, revise and edit of objections to MJ Lynch's decision        8.10    3,240.00
                         quashing subpoena (SD Indiana)
03/18/2016   JRM         Preparation of and filing objections to MJ Lynch's decision        1.10      440.00
                         (S.D. Indiana)
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                                                                                    14
03/23/2016      JRM      Draft, revise and edit of motion to stay objections to MJ          1.40      560.00
                         Lynch's order, while Motion for Reconsideration is pending
03/23/2016      JRM      Preparation of and filing of motion to stay (S.D. Indiana)         0.50      200.00
03/24/2016      JRM      Read and review LVNV's sur-reply in opposition to Fourth           0.60   No Charge
                         Motion for Sanctions
03/24/2016      JRM      Research of Florida law on judgments and statutory interest        0.90   No Charge
03/25/2016      JRM      Draft, revise and edit of motion to file sur-sur-reply as well     6.10   No Charge
                         as motion for leave to file sur-sur-reply
03/25/2016      JRM      Preparation of motion for leave to file sur-sur-reply and          0.40   No Charge
                         proposed sur-sur-reply and filing
04/01/2016      JRM      Research of 7th Circuit law on confidentiality and                 2.20      880.00
                         intervention in preparation for filing Motion for
                         Reconsideration (SD Indiana)
04/04/2016      JRM      Preparation of and filing of Motion for Reconsideration (S.D.      2.10      840.00
                         Indiana)
04/04/2016      JRM      Draft, revise and edit of Motion for Reconsideration               9.20    3,680.00
04/05/2016      BLB      Final preparation and service of cover letter and Third Set of     1.00      550.00
                         Written Discovery Demands
04/05/2016      BLB      Correspondence with Amy Romig re document preservation             0.60      330.00
04/06/2016      JRM      Draft, revise and edit of and filing Motion to Intervene (total    0.50      200.00
                         time 1 hr, split with Moukengeschaie case).
04/07/2016      JRM      Draft, revise and edit of brief in support of motion to            1.10      440.00
                         intervene in Cox (total time 2.2, split with Moukengeschaie)
04/07/2016      JRM      Preparation of and filing of Bromberg decl in support of Cox       0.40      160.00
                         motion to intervene, and filing (.8 total, split with
                         Moukengeschaie case)
04/07/2016      JRM      Preparation of exhibits to Bromberg decl in support of             1.60      640.00
                         motion to intervene in cox (total time 3.2 hrs, split with
                         Moukengeschaie case)
04/07/2016      JRM      Draft, revise and edit of Bromberg declaration in support of       0.60      240.00
                         motion to intervene in Cox (total time 1.2, split with
                         Moukengeschaie)
04/08/2016      JRM      Preparation of and filing of brief in support of motion to         0.40      160.00
                         intervene in Cox (total time .8, split with Moukengeschaie)
04/08/2016      JRM      Draft, revise and edit of brief in support of motion to            3.20    1,280.00
                         intervene in Cox (total time 6.4, split with Moukengeschaie)
04/10/2016      BLB      Final preparation and service of motion to intervene and           7.50    4,125.00
                         unseal
04/19/2016      JRM      Read and review of LVNV's Opposition to Motion for                 1.00      400.00
                         Reconsideration (SD Indiana)
04/21/2016      JRM      Research of cases cited in LVNV's Opp to our Motion for            1.30      520.00
                         Reconsideration (SD Indiana)
04/22/2016      JRM      Preparation of and filing of Reply on Motion for                   1.90      760.00
                         Reconsideration (SD Indiana)
04/29/2016      JRM      Draft, revise and edit of reply on Motion for Reconsideration      5.50    2,200.00
                         (SD Indiana)
05/18/2016      BLB      Attend meeting w/ Connie Montoya -- discussed settling             0.10       55.00
                         attorney fees at courthouse
05/19/2016      BLB      Email correspondence with Connie Montoya re resolving              0.30      165.00
                         attorney fees issue
05/19/2016      BLB      Email correspondence with Nabil Foster re his firm still           0.10       55.00
                         sending documents to my old address
05/19/2016      BLB      Read and reviewed purchase and sale agreement with an              0.50      275.00
                         eye to moving to preclude and for sanctions and with an eye
                         to depositions
05/19/2016      JRM      Draft, revise and edit of Fifth Motion for Sanctions - outlining   3.00    1,200.00
                         and introduction
05/20/2016      JRM      Draft, revise and edit of Fifth Motion for Sanctions - Part I      5.00    2,000.00
                         (includes research and collecting exhibits re: Sherman
                         entities and predictive analytics of debt buying)
05/27/2016      BLB      Preparation of revised papers in opposition to motion for          0.80      440.00
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                                                                                    14
                         protective order
06/06/2016      BLB      Read and reviewed email from Nabil Foster; email                  0.30    165.00
                         correspondence back and forth
07/11/2016      JRM      Read and review LVNV's Opposition to our Fifth Motion for         0.50    200.00
                         Sanctions
07/11/2016      JRM      Draft, revise and edit of reply on Fifth Motion for Sanction      0.10     40.00
                         against LVNV - preparation of outline
07/11/2016      JRM      Read and review of LVNV's reply memo on its motion for            0.30    120.00
                         protective order
07/11/2016      JRM      Draft, revise and edit of reply on Fifth Motion to Sanction       2.00    800.00
                         LVNV - section on "transfer" versus "business deal"
07/13/2016      JRM      Draft, revise and edit of reply on fifth motion for sanctions -   4.00   1,600.00
                         section A on "business deal" docs
07/14/2016      JRM      Draft, revise and edit of reply on fifth motion for sanctions -   4.50   1,800.00
                         sections B & C
07/14/2016      BLB      Preparation of revised reply brief                                0.50    275.00
07/15/2016      JRM      Draft, revise and edit of Miller Reply Decl - fifth motion for    0.30    120.00
                         sanctions
07/15/2016      JRM      Draft, revise and edit of reply memo - fifth motion for           0.50    200.00
                         sanctions - cutting down to page limit
07/15/2016      JRM      Preparation of - final prep of reply memo, reply decl, and        1.10    440.00
                         certificate of service and filing
01/18/2017      BLB      Telephone call w/ JRM and Seth Andrews re discovery and           0.40    220.00
                         deposition issues
03/10/2017      BLB      Telephone call w/ RJM and Montoya and Nabil and two or            0.30    165.00
                         three other associates
03/10/2017      BLB      Telephone call w/ JRM re jiggering our 30(b)(6) topics            0.10     55.00
03/10/2017      JRM      Telephone call with all counsel re: deposition topics and         0.30    120.00
                         timing
03/10/2017      JRM      Telephone call with BLB re: necessity of revising deposition      0.10     40.00
                         topics
05/19/2017      BLB      Telephone call w/ Connie and Nabil re revised deposition          0.30    165.00
                         notices
06/23/2017      BLB      Telephone call w/ Connie Montoya re rescheduling Eltman           0.10     55.00
                         30(b)(6) deposition
06/27/2017      BLB      Telephone call w/ Nabil Foster and co-counsel re                  0.50    275.00
                         scheduling
06/27/2017      BLB      Preparation of motion to extend discovery because of              0.60    330.00
                         extraordinary circumstances
06/28/2017      BLB      Final preparation and filing of Godson motion to extend           0.60    330.00
                         deadlines
06/29/2017      BLB      Telephone call w/ JRM re proposed dates for rescheduled           0.30    165.00
                         Eltman deposition
07/06/2017      BLB      Telephone call w/ JRM re Nabil's proposed deposition dates        0.30    165.00
                         for LVNV
07/18/2017      BLB      Final preparation and service of Amended Deposition               1.20    660.00
                         Notices
07/20/2017      BLB      Preparation for taking deposition                                 5.20   2,860.00
07/21/2017      BLB      Final preparation for deposition of Eltman with JRM               1.10     605.00
07/21/2017      BLB      Deposition under Rule 30(b)(6) of Eltman (jacquelyn Kenel)        8.70   4,785.00
07/25/2017      BLB      Preparation with JRM for taking deposition of LVNV                0.60     330.00
07/25/2017      BLB      Reviewed all court documents to see whether there was             2.60   1,430.00
                         anything we might have missed that we would want to mark
                         as a deposition exhibit
07/26/2017      BLB      Travel time from Manhattan to LaGuardia to Charlotte to           7.00   3,850.00
                         Greenville (by car) for deposition
07/27/2017      BLB      Final preparation for LVNV deposition with JRM                    1.10     605.00
07/27/2017      BLB      Deposition under Rule 30(b)(6) of LVNV (Meghan                    7.00   3,850.00
                         Emmerich)
07/28/2017      BLB      Telephone call w/ JRM and Connie Montoya re discovery             0.40    220.00
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                         and motion practice and settlement
07/28/2017      BLB      Travel time from Greenville to Charlotte (by car) to LGA to     7.00   3,850.00
                         Manhattan
07/31/2017      BLB      Telephone call w/ Chris Godson re case status and               0.30    165.00
                         settlement
08/29/2017      BLB      Service of subpoena on Eltman's accountants                     1.00     550.00
08/30/2017      BLB      Telephone call w/ Angela Stokes re deposition                   0.10      55.00
09/14/2017      BLB      Travel time from Manhattan to JFK to Raleigh for deposition     4.50   2,475.00
                         of Angela Stokes
09/14/2017      BLB      Telephone call w/ JRM -- preparation for Stokes deposition      1.20     660.00
09/15/2017      BLB      Travel time from Raleigh to JFK to Manhattan                    4.50   2,475.00
09/15/2017      BLB      Final preparation with JRM for Stokes deposition                0.80     440.00
09/15/2017      BLB      Deposition of Angela Stokes                                     6.60   3,630.00
09/19/2017      BLB      Telephone call w/ court reporter and JRM -- made record of      0.30     165.00
                         non-attendance of EEC's accountants
09/26/2017      BLB      Telephone call w/ Nabil Foster and JRM re settlement            0.30    165.00
09/27/2017      BLB      Email correspondence with client re Defendants' settlement      0.40    220.00
                         offer
10/24/2017      BLB      Telephone call w/ JRM re what needs to be done next on          1.20    660.00
                         this case and what the DebtNext database shows
11/02/2017      BLB      Telephone call w/ Chris Godson and JRM -- client                0.20    110.00
                         authorized us to demand $800 a class member + money to
                         him + money to us
11/02/2017      BLB      Telephone call w/ Nabil Foster and JRM -- conveyed new          0.20    110.00
                         settlement demand
11/06/2017      BLB      Travel time to Buffalo from NYC, including trip to airport      3.00   1,650.00
11/06/2017      BLB      Attend meeting w/ Seth and client to prepare for mediation      1.00     550.00
11/07/2017      BLB      Attend meeting -- settlement conference in Buffalo and          7.00   3,850.00
                         putting settlement terns on the record
11/14/2017      BLB      Telephone call w/ JRM and Rebecca Gelozin                       0.20    110.00
11/21/2017      BLB      Telephone call w/ Wilson Elser re pending motion for            0.10     55.00
                         contempt
11/21/2017      BLB      Email correspondence with JRM re call with Wilson Elser         0.10     55.00
                         and how to proceed with pending motion
12/12/2017      BLB      Preparation of first draft of settlement documents              1.50    825.00
01/04/2018      BLB      Email correspondence with Nabil and Connie re settlement        0.20    110.00
                         documents -- where are they?
02/02/2018      BLB      Preparation of revised settlement documents; email to           0.50    275.00
                         defense counsel
04/02/2018      BLB      Preparation of declaration in support of preliminary approval   1.50     825.00
04/23/2018      BLB      Telephone call w/ Chambers -- Court needs courtesy copies       0.10      55.00
04/23/2018      BLB      Research of court rules and individual practices                0.20     110.00
04/23/2018      BLB      Telephone call w/ Chambers                                      0.10      55.00
04/23/2018      BLB      Preparation of courtesy copies and preparation of corrected     1.90   1,045.00
                         memorandum
05/04/2018      BLB      Court, preparation for and attendance at Preliminary            7.00   3,850.00
                         Fairness Hearing in Buffalo
05/18/2018      BLB      Telephone call w/ Connie Montoya re revisions to                0.30    165.00
                         preliminary approval papers
05/18/2018      BLB      Preparation of revised preliminary approval papers              0.40    220.00
05/18/2018      BLB      Final preparation of revised preliminary approval order and     0.70    385.00
                         settlement notice; transmission to Judge Wolford
05/23/2018      BLB      Email correspondence with defense counsel re getting out        0.10     55.00
                         class notice
05/31/2018      BLB      Preparation -- final review and approval of class settlement    0.40    220.00
                         notice
09/14/2018      BLB      Preparation of Memorandum in Support of Final Approval          6.80   3,740.00
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                                                                                    14
09/15/2018      BLB        Preparation of final approval papers                        5.30      2,915.00
09/17/2018      BLB        Preparation of Bromberg Declaration in Support of Final     5.10      2,805.00
                           Approval and Exhibits
09/20/2018      BLB        Preparation of Final Approval Papers                        6.10      3,355.00
                           Total Fees                                                657.90   $194,105.00



Expenses
03/16/2012   E110 Out-of-town travel -- flights to/from Buffalo for      269.60
             mediation conference
03/30/2012   E110 Out-of-town travel -- taxi to airport                   59.30
05/04/2012   E110 Out-of-town travel -- JetBlue flight to/from           189.80
             Buffalo
05/11/2012   Hampton Inn in Buffalo for May 19, 2012 mediation           193.49
             conference
05/18/2012   E110 Out-of-town travel -- taxi to airport                   60.36
06/13/2012   E108 Postage -- Federal Express                              16.99
06/13/2012   E108 Postage -- Federal Express                              16.99
07/19/2012   E110 Out-of-town travel -- Parking at JFK Lot                42.00
01/10/2014   E108 Postage -- Federal Express                              70.13
11/18/2014   E119 Experts -- Expert Fees paid to Consulting                0.00
             CPA -- $1,137.50 (zeroed out because already
             resolved as part of a court-awarded sanction)
11/09/2015   E113 Subpoena fees -- cost to serve subpoena                129.95
             duces tecum in Indianapolis -- used Guaranteed
             Subpoena Service, Inc.
04/13/2016   E108 Postage -- Federal Express                             234.93
07/16/2017   E110 Out-of-town travel -- American Airlines from           267.90
             NYC to Charlotte and Back
07/26/2017   E115 Deposition transcripts -- Eltman -- payment to       3,080.75
             Esquire Solutions -- Invoice No. 1037821
07/28/2017   E110 Out-of-town travel -- Alamo Car Rental                 168.34
07/28/2017   E110 Out-of-town travel -- gas for rental car to get         16.50
             to-from Greenville from Charlotte
07/28/2017   E110 Out-of-town travel -- Hampton Inn in                   327.08
             Greenville
08/28/2017   E113 Subpoena fees -- PKF O'Connor Davies LLP                70.00
10/12/2017   E115 Deposition transcripts -- Angela Stokes                865.00
             Deposition
10/13/2017   E115 Deposition transcripts -- Emmerich Deposition        2,361.04
             -- payment to Compuscripts, Inc., Inv. No. 1040476
10/16/2017   E115 Deposition transcript -- Eltman's accountants          344.31
             -- payment to Esquire Solutions -- Invoice No.
             1081060
10/18/2017   E119 Experts -- fee paid to a consulting CPA                570.00
11/07/2017   Hotel -- The Mansion on Delaware Avenue                     255.94
12/17/2017   E115 Deposition transcripts -- videographer --              496.50
             deposition of Angela Stokes
04/23/2018   E110 Out-of-town travel -- JetBlue to/from Buffalo          310.39
             for Preliminary Approval Hearing
05/04/2018   E110 Out-of-town travel -- airport taxi in Buffalo           39.96
05/04/2018   E110 Out-of-town travel -- Jerusalem Car Service             35.00
             to airport
05/04/2018   E110 Out-of-town travel -- taxi from airport to home         51.52
05/04/2018   E110 Out-of-town travel -- taxi from court to airport        17.32
09/05/2018   E110 Out-of-town travel -- Delta to/from Buffalo for        210.40
             Final Approval Hearing
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09/16/2018    E110 Out-of-town travel -- Hotel Room for Final      256.28
              Approval Hearing
                    Total Expenses                                                   $11,027.77



        TOTAL NEW CHARGES                                                           $205,132.77




        STATEMENT OF ACCOUNT
             Current Fees (Amounts marked “No Charge” above were              194,105.00
             resolved through Sanction Payments)
             Current Expenses                                                  11,027.77


        AMOUNT DUE AND OWING TO DATE                                         $205,132.77




PER:

Brian L. Bromberg
